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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION



    THE UNITED STATES OF AMERICA,

           Plaintiff,

           v.

    STATE OF ILLINOIS; JB PRITZKER,
    Governor of Illinois, in his Official Capacity;       Case No. 1:25-cv-1285
    THE CITY OF CHICAGO; BRANDON
    JOHNSON, Mayor of Chicago, in his Official            Judge Lindsay C. Jenkins
    Capacity; LARRY SNELLING, Chicago
    Police Superintendent, in his Official
    Capacity; COOK COUNTY, ILLINOIS;
    COOK COUNTY BOARD OF
    COMMISSIONERS; TONI
    PRECKWINKLE, President of the Cook
    County Board of Commissioners, in her
    Official Capacity; THOMAS J. DART, Cook
    County Sheriff, in his Official Capacity,

           Defendants.




                             MOTION FOR SUMMARY JUDGMENT

          Plaintiff United States of America, by and through undersigned counsel, moves the Court

to enter summary judgment in its favor under Federal Rule of Civil Procedure 56 and Local Rule

56.1 for the reasons explained in the attached memorandum of points and authorities. 1




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  The United States previously proposed a briefing schedule in connection with its motion for
summary judgment, see ECF Nos. 45, 56. But in light of Defendants’ objection to this motion,
this Court ruled that it will not set a briefing schedule at this time. ECF No. 57. Instead,
Defendants will have one week from the date of this filing to advise the Court of their position on
a briefing schedule and discovery. Id.
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Dated: April 14, 2025                       Respectfully submitted,

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                                            Civil Division

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                                            Deputy Assistant Attorney General

                                            ALEXANDER K. HAAS
                                            Director

                                            JACQUELINE COLEMAN SNEAD
                                            Assistant Director

                                            /s/ Elisabeth J. Neylan
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